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10 Attorneys for United States of America

11
12                                 UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA

14                                          SAN JOSE DIVISION

15 UNITED STATES OF AMERICA,                     )   CASE NO. 18-CR-00258 EJD
                                                 )
16           Plaintiff,                          )   STIPULATION AND [PROPOSED] ORDER
                                                 )   REGARDING CONDITIONS OF RELEASE AND
17      v.                                       )   APPEARANCE BOND
                                                 )
18 RAMESH BALWANI,                               )
                                                 )
19           Defendant.                          )
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     STIPULATION & [PROPOSED] ORDER
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 1                                              STIPULATION

 2          Following the jury’s verdicts on July 7, 2022, the government sought and the Court ordered

 3 modifications to the June 15, 2018 Order Setting Conditions of Release and Appearance Bond for the

 4 defendant. See ECF No. 8. Specifically, the Court increased the amount of the bond to $750,000 and

 5 required that it be secured. The Court ordered further that the defendant must not travel outside the

 6 Northern District of California without the approval of Pretrial Services and notice to the government.

 7 The parties respectfully request that the Court issue the accompanying Proposed [Order] to memorialize

 8 these modifications.

 9          IT IS SO STIPULATED.

10 DATED: July 14, 2022                                         Respectfully submitted,

11                                                              STEPHANIE M. HINDS
                                                                United States Attorney
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13                                                              /s/ Robert S. Leach
                                                                __________________
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17
     DATED: July 14, 2022                                       Respectfully submitted,
18
19                                                              ORRICK HERRINGTON & SUTCLIFFE
                                                                LLP
20
                                                                /s/ Jeffrey B. Coopersmith
21                                                              __________________
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23                                                              STEPHEN A. CAZARES
                                                                Attorneys for Defendant
24                                                              RAMESH BALWANI

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     STIPULATION & [PROPOSED] ORDER
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 1                                          [PROPOSED] ORDER

 2          Good cause appearing, the Court’s June 15, 2018 Order Setting Conditions of Release and

 3 Appearance Bond [ECF No. 8] is modified as follows: The amount of bond is set at $750,000 and shall

 4 be secured by cash or real property. Further, the defendant must not travel outside the Northern District

 5 of California without the approval of Pretrial Services and notice to the government.

 6          All other conditions of the June 15, 2018 Order Setting Conditions of Release and Appearance

 7 Bond [ECF No. 8] shall remain in effect.

 8          IT IS SO ORDERED.

 9 DATED: July 14
               __, 2022

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11                                                              HON. EDWARD J. DAVILA_
                                                                UNITED STATES DISTRICT JUDGE
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     STIPULATION & [PROPOSED] ORDER
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